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                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                           LITTLE ROCK DIVISION

FREDA A. TAYLOR                                                           PLAINTIFF

VS.                                 CASE NO: 4:14CV303-JMM

ASSOCIATION OF ARKANSAS COUNTIES
DEBBIE NORMAN
CHRIS VILLINES                                                        DEFENDANTS

     PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO FILE
   RESPONSE TO DEFENDANT’S MOTION TO DISMISS AND FOR A
                 MORE DEFINATE STATEMENT

        COMES now the Plaintiff, Freda Taylor, by and through her attorney,

Teresa Bloodman, and moves this Court for an extension of time to file a response

to the Defendant’s Motion to Dismiss and for a More Definite Statement and as

the basis for said motion states:

        1. That Plaintiff’s response is due to be filed in this matter on October 28,

2014.

        2. That counsel needs additional time to complete and file said response due

to computer and hard drive difficulties on this morning which have frustrated the

ability to complete the response.

        3. The undersigned is very grateful and appreciates the Court for

understanding the present conflict.

        4. It is expected that the undersigned will be able to complete and file said


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response with the extension of an additional ten (10) days.

      5. An extension of time is needed in this matter as it relates to any other

requirements of the court for a period of ten (10) days.

      6. That movant makes this motion in good faith and is not made for the

purposes of any delay or other illegitimate purposes.

      7. That the undersigned, via email, communicated this dilemma and the

need to request an extension to opposing counsel prior to filing this motion.

      8. That this motion is in the best interest of justice.

      9.    That it is In the interest of fairness and justice, plaintiff requests an

additional ten (10) days to file a response to defendant’s motion to dismiss and

for a more definite statement.

           WHEREFORE, the undersigned respectfully requests this Court to grant

this motion for an extension of time to respond to the motion to dismiss and for a

more definite statement of ten (10) days in which to complete and file plaintiff’s

response and for all other proper relief deemed proper and just.



                                          Respectfully Submitted,

                                          /s/Teresa Bloodman# 2005055
                                          Attorney for Plaintiff
                                          P.O. Box 13641
                                          Maumelle, AR 72113
                                          Telephone: (870) 550-1940
                                          teresabloodman@yahoo.com


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                            CERTIFICATE OF SERVICE

I, Teresa Blood man, hereby certify that on this 28th day of October 2014, I
electronically filed the foregoing with the Clerk of Court using the CM/ECF
System, which will send notification of such filing to all CM/ECF participating
counsel of record listed below; and I further certify that I have mailed the
document, via U.S. Mail, postage prepaid, to all non CM/ECF participants listed
below:

William Stuart Jackson
Attorney for Defendant
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                                                  /s/Teresa Bloodman




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